                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

 IN RE:

        Eddie J. Stewart,                    )
                                                       Case Number: 12-05016-TOM-13
                      Debtor.                )

                   MOTION FOR CONTEMPT AND FOR SANCTIONS

        COMES NOW Eddie J. Stewart, the Debtor, by and through the undersigned attorney, and
 hereby complain against Selene Finance, LP for violating the discharge injunction as follows:

        1.     The Debtor filed a chapter 13 bankruptcy case on October 23, 2017.

        2.     Selene Finance is the mortgage servicer of the Debtor’s home mortgage and is a
               creditor who actively participated in the Debtor’s chapter 13 case.

        3.     The Debtor received a discharge on January 9, 2018.

        4.     Subsequent to the discharge, Selene Finance sent the Debtor a Notice of Default and
               Intent to Accelerate letter. The letter is attached hereto as Exhibit A. The letter
               demanded payment of three missed payments for January 2018, February 2018, and
               March 2018. The letter also stated that his mortgage loan is in default.

        5.     The total due demanded by Selene Finance was $2,457.62, inclusive of late fees,
               escrow, and corporate advances. Upon information and belief, none of the fees were
               disclosed to the Debtor, the Court, or the Trustee during the pendency of his
               bankruptcy case.

        6.     Selene Finance demanded payment of this debt no later than April 20, 2018.

        7.     The Debtor made the January 2018, February 2018, and March 2018 mortgage
               payments by check and made them timely. Selene Finance had already received the
               checks and cashed them well before the date of its letter to the Debtor. The checks
               are itemized as follows:

  Date of Check          Check Number                Amount               Date Paid
  1/10/2018              520                         $703.71              1/11/2018
  2/14/2018              524                         $703.71              2/13/2018


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  3/14/2018                525                         $703.71                  3/14/2018

        8.      Copies of the canceled checks are attached hereto as Exhibit B.

        9.      Selene Finance has violated the discharge injunction and § 524(i) as set out herein.

        10.     Moreover, Selene Finance has demanded payment of fees and costs which were not
                previously disclosed.

        WHEREFORE, PREMISES CONSIDERED, Debtor moves to hold Selene Finance in
 contempt and for this Court to award sanctions against Selene Finance, and to award costs and
 attorneys fees in this matter to the Debtor.

 Dated this 6th day of April 2018.                       Respectfully submitted,

                                                         /s/ Robert C. Keller
                                                         Robert C. Keller
                                                         Attorney for Debtor
                                                         315 Gadsden Highway, Suite D
                                                         Birmingham, AL 35235
                                                         (205) 833-2589

                                  CERTIFICATE OF SERVICE

         I hereby certify that I have served a copy of the foregoing upon the Chapter 13 Trustee and
 said creditor by placing a copy of the same in the United States Mail, first class postage prepaid and
 properly addressed this 6th day of April 2018:

 Bradford Caraway, Chapter 13 Trustee
 via CM/ECF

 Selene Finance, LP
 c/o Amanda Beckett, Esq.
 Rubin Lublin, LLC
 100 Concourse Parkway, Suite 115
 Birmingham, AL 35244

                                                         /s/ Robert C. Keller
                                                         Robert C. Keller




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                            EXHIBIT A




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                            EXHIBIT B




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